Case 3:17-cv-00072-NKM-JCH Document 1003-1 Filed 08/11/21 Page 1 of 5 Pageid#:
                                  16587



                                          APPENDIX A
                          FACTS TO BE DEEMED ESTABLISHED

        Plaintiffs respectfully request that the following facts—most taken directly from RFAs that

 Fields refused to answer—be deemed established as to Defendant James Fields:

 1. On August 12, 2017, Mr. Fields slowly proceeded in his Dodge Challenger down Fourth

    Street in Charlottesville, Virginia, toward a crowd of pedestrians located at the intersection of

    Fourth Street and East Water Street, and observed the crowd while idling in his vehicle.

    (RFA No. 38.)

 2. On August 12, 2017, after observing the crowd of pedestrians at Fourth Street and East

    Water Street, Mr. Fields slowly reversed his Dodge Challenger back up Fourth Street toward

    the top of the hill, near the intersection of Fourth Street and East Market Street. (RFA No.

    39.)

 3. On August 12, 2017, Mr. Fields rapidly accelerated his Dodge Challenger down Fourth

    Street towards the intersection of Fourth Street and East Water Street, running through a stop

    sign and across a raised pedestrian mall, and drove directly into a crowd of pedestrians.

    (RFA No. 40.)

 4. On August 12, 2017, after Mr. Fields hit a crowd of pedestrians with his Dodge Challenger,

    Mr. Fields struck a parked vehicle near the intersection of Fourth Street and East Water

    Street. (RFA No. 41.)

 5. On August 12, 2017, after striking another vehicle with his Dodge Challenger, Mr. Fields

    rapidly reversed his car and fled the scene. (RFA No. 42.)

 6. On August 12, 2017, Mr. Fields drove into a crowd of pedestrians because of the actual or

    perceived race, color, religion, and/or national original of individuals in the crowd. (RFA

    No. 43.)

                                                 1
Case 3:17-cv-00072-NKM-JCH Document 1003-1 Filed 08/11/21 Page 2 of 5 Pageid#:
                                  16588



 7. On August 12, 2017, Mr. Fields intentionally drove his Dodge Challenger towards a group of

    pedestrians in Charlottesville, Virginia. (RFA No. 44.)

 8. On August 12, 2017, Elizabeth Sines was in the crowd towards which Mr. Fields

    intentionally drove his Dodge Challenger. (RFA No. 45.)

 9. On August 12, 2017, Marissa Blair was in the crowd towards which Mr. Fields intentionally

    drove his Dodge Challenger. (RFA No. 46.)

 10. On August 12, 2017, April Muniz was in the crowd towards which Mr. Fields intentionally

    drove his Dodge Challenger. (RFA No. 47.)

 11. On August 12, 2017, Marcus Martin was in the crowd towards which Mr. Fields intentionally

    drove his Dodge Challenger. (RFA No. 48.)

 12. On August 12, 2017, Natalie Romero was in the crowd towards which Mr. Fields

    intentionally drove his Dodge Challenger. (RFA No. 49.)

 13. On August 12, 2017, Chelsea Alvarado was in the crowd towards which Mr. Fields

    intentionally drove his Dodge Challenger. (RFA No. 50.)

 14. On August 12, 2017, Thomas Baker was in the crowd towards which Mr. Fields intentionally

    drove his Dodge Challenger. (RFA No. 51.)

 15. On August 12, 2017, Mr. Fields intentionally drove his Dodge Challenger into a group of

    pedestrians in Charlottesville, Virginia. (RFA No. 52.)

 16. On August 12, 2017, Mr. Fields struck a group of pedestrians with his Dodge Challenger.

    (RFA No. 53.)

 17. On August 12, 2017, Mr. Fields struck Marcus Martin with his Dodge Challenger. (RFA No.

    57.)




                                                2
Case 3:17-cv-00072-NKM-JCH Document 1003-1 Filed 08/11/21 Page 3 of 5 Pageid#:
                                  16589



 18. On August 12, 2017, Mr. Fields struck Natalie Romero with his Dodge Challenger. (RFA

    No. 58.)

 19. On August 12, 2017, Mr. Fields struck Chelsea Alvarado with his Dodge Challenger. (RFA

    No. 59.)

 20. On August 12, 2017, Mr. Fields struck Thomas Baker with his Dodge Challenger. (RFA No.

    60.)

 21. On August 12, 2017, Mr. Fields caused injury to pedestrians in Charlottesville, Virginia.

    (RFA No. 61.)

 22. On August 12, 2017, Mr. Fields caused emotional injury to Elizabeth Sines. (RFA No. 62.)

 23. On August 12, 2017, Mr. Fields caused emotional injury to Marissa Blair. (RFA No. 63.)

 24. On August 12, 2017, Mr. Fields caused emotional injury to April Muniz. (RFA No. 64.)

 25. On August 12, 2017, Mr. Fields caused physical and emotional injury to Marcus Martin.

    (RFA No. 65.)

 26. On August 12, 2017, Mr. Fields caused physical and emotional injury to Natalie Romero.

    (RFA No. 66.)

 27. On August 12, 2017, Mr. Fields caused physical and emotional injury to Chelsea Alvarado.

    (RFA No. 67.)

 28. On August 12, 2017, Mr. Fields caused physical and emotional injury to Thomas Baker.

    (RFA No. 68.)

 29. Mr. Fields was not in reasonable apprehension of death or great bodily harm prior to driving

    his Dodge Challenger into a group of pedestrians. (RFA No. 69.)

 30. Mr. Fields did not retreat from a threat of death or great bodily harm and announce his desire

    for peace, prior to driving his Dodge Challenger into a group of pedestrians. (RFA No. 70.)



                                                 3
Case 3:17-cv-00072-NKM-JCH Document 1003-1 Filed 08/11/21 Page 4 of 5 Pageid#:
                                  16590



 31. Mr. Fields striking a crowd of pedestrians with his Dodge Challenger was not a reasonably

    apparent necessity to preserve his life or save himself from great bodily harm. (RFA No.

    71.)

 32. Mr. Fields pled guilty to twenty-nine (29) counts of violating 18 U.S.C. § 249(a)(1) because

    he is, in fact, guilty of what was charged in those counts. (RFA No. 74.)

 33. Mr. Fields has espoused violence against African Americans. (RFA No. 77.)

 34. Mr. Fields has espoused violence against Jewish people. (RFA No. 78.)

 35. Mr. Fields has espoused violence against members of racial, ethnic, and religious groups that

    he perceived to be non-white and their supporters. (RFA No. 79.)

 36. When Mr. Fields hit pedestrians with his Dodge Challenger on August 12, 2017, he was

    motivated by animosity towards non-white individuals and their supporters. (RFA No. 123.)

 37. Mr. Fields could have prevented himself from committing violence at the Unite the Right

    rally that took place on August 12, 2017 in Charlottesville, Virginia. (RFA No. 137.)

 38. Mr. Fields created two Discord accounts in July 2017.

 39. Mr. Fields refused to provide Plaintiffs with access to his communications from the Discord

    accounts, in violation of a Court order to do so, and he refused to do so knowing that

    Plaintiffs have alleged that Defendants used Discord to plan racially-motivated violence at

    the Unite the Right Rally.

 40. Mr. Fields refused to testify at a deposition by Plaintiffs’ counsel.

 41. Mr. Fields anticipated that there would be violence at the Unite the Right Rally.

 42. Mr. Fields entered into an agreement with one or more co-conspirators to engage in racially-

    motivated violence in Charlottesville, Virginia on August 11 and 12, 2017.




                                                   4
Case 3:17-cv-00072-NKM-JCH Document 1003-1 Filed 08/11/21 Page 5 of 5 Pageid#:
                                  16591



 43. Mr. Fields was motivated by animus against racial minorities, Jewish people, and their

    supporters when conspiring to engage in acts of intimidation and violence on August 12,

    2017 in Charlottesville, Virginia.

 44. It was reasonably foreseeable to Mr. Fields and intended by Mr. Fields that co-conspirators

    would commit acts of racially-motivated violence and intimidation on August 11, 2017.

 45. It was reasonably foreseeable to Mr. Fields and intended by Mr. Fields that co-conspirators

    would commit acts of racially-motivated violence and intimidation on August 12, 2017.

 46. Mr. Fields was aware that the crowd gathered at 4th Street and East Water Street on August

    12, 2017, was composed of counter protesters.

 47. Mr. Fields committed his car attack in furtherance of the conspiracy to engage in racially-

    motivated violence in Charlottesville, Virginia on August 11 and 12, 2017.




                                                 5
